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                          IN THE UNITED STATES DISTRICT COURT

                           DISTRICT OF UTAH, CENTRAL DIVISION


UNITED STATES OF AMERICA,                                      FELONY INFORMATION

                        Plaintiff,                      Count 1: 15 U.S.C. §§ 78j(b), 78ff, and 17
                                                        C.F.R. § 240.lOb-5 (Securities Fraud)
        vs.
                                                        Count 2: 18 U.S.C. 1341 (Mail Fraud)
THOMAS EDWARD ANDREWS,
                                                       case: 2:16cr00211     .
                                                       Assigned To : Sam, David
                        Defendant.                     Assign. Date : 5/10/2016
                                                       Description: USA v. Andrews

        The United States Attorney alleges:

                                     I.   BACKGROUND

        At all times relevant to this Felony Information:

         1.    Defendant THOMAS EDWARD ANDREWS was a resident of Salt Lake County,

Utah.

        2.     Defendant ANDREWS, as a registered representative of LPL Financial, LLC,

obtained Series 6 and Series 63 securities licenses to sell securities such as mutual funds,

insurance products, and variable annuities.

                  II.     THE SCHEME AND ARTIFICE TO DEFRAUD

         3.    Beginning in and around 2010 and continuing to and armmd November 2015,

within the Central Division of the District of Utah and elsewhere,

                                 THOMAS EDWARD ANDREWS,
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defendant herein, devised and intended to devise a scheme to defraud investors, and to obtain

money and property by means of materially false and fraudulent pretenses, representations and

promises, and omissions of material facts.

       4.         In executing and attempting to execute the scheme and artifice to defraud, and in

furtherance thereof, defendant ANDREWS knowingly offered and attempted to offer securities,

that is, investments in "The Jackson Trust" or "Lincoln Financial Group'', and by the use of

means and instruments of transportation and communication and interstate commerce, that is,

wire communications, directly and indirectly, and did willfully (1) employ a device, scheme, and

artifice to defraud; (2) make untrue statements of material fact and omit to state material facts

necessary in order to make the statements made, in light of the circumstances under which they

were made, not misleading; and (3) engage in acts, transactions, practices, and courses of

business which would operate and did operate as a fraud and deceit upon other persons, m

violation of 15 U.S.C. §§ 78j(b), 78ff, and 17 C.F.R. § 240.lOb-5 (Securities Fraud).

       5.         In executing and attempting to execute the scheme and artifice to defraud,

defendant ANDREWS knowingly deposited and caused to be deposited in an authorized

depository for mail a matter or thing to be sent and delivered by the United States Postal Service

or by any private or commercial interstate carrier, according to the directions thereon, in

violation of 18 U.S.C. § 1341 (Mail Fraud).

            HI.     OBJECT OF THE SCHEME AND ARTIFICE TO DEFRAUD

       6.         It was the object of the scheme and artifice to defraud for defendant ANDREWS

to fraudulently obtain money from investors through false statements, misrepresentations,

deception, and omissions of material facts, and thereafter cause the money to be diverted for


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defendant ANDREWS's personal use and benefit.

  IV. MANNER AND MEANS OF THE SCHEME AND ARTIFICE TO DEFRAUD

       7.      It was part of the scheme and artifice to defraud that defendant ANDREWS, in an

effort to lull investor victims into a false sense of security about their investments, arranged for a

co-conspirator to pose as ANDREWS' direct supervisor (a fictitious person named David

Williams) and knowingly make misrepresentations regarding the security of the investments.

       8.      It was part of the scheme and artifice to defraud that defendant ANDREWS and a

co-conspirator would drive or fly to California to mail fraudulent account statements to investor

victims.

       9.      In execution and furtherance of the scheme and artifice to defraud, defendant

ANDREWS, made or caused to be made, one or more of the following false and fraudulent

representations to the investor victims: That the investment offerings would yield significant

returns, when in .fact, ANDREWS made no investments, but instead deposited money from

victims into his personal account and used the money for his own personal benefit.

                                            Countl
                      15 U.S.C. §§ 78j(b), 78ff, and 17 C.F.R. § 240.lOb-5
                                       (Securities Fraud)

        10.    The allegations set forth above and all counts set forth in this Information are

incorporated herein by reference and realleged as though fully set forth herein.

        11.    Beginning in and around 2010 and continuing to and around November 2015,

within the Central Division of the District of Utah and elsewhere,

                               THOMAS EDWARD ANDREWS,

defendant herein, willfully, knowingly, and with intent to defraud, in the purchase and sale of


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securities, that is, investments in "The Jackson Trust" or "Lincoln Financial Group", and by the

use of means and instruments of transportation and communication and interstate commerce, that

is, wire communications, directly and indirectly, did (1) employ a device, scheme, and artifice to

defraud; (2) make untrue statements of material fact and omit to state material facts necessary in

order to make the statements made, in light of the circumstances under which they were made,

not misleading; and (3) engage in acts, transactions, practices, and courses of business which

would operate and did operate as a fraud and deceit upon other persons, as more particularly

described for each count below:

 COUNT            DATE                        USE OF INTERSTATE MEANS
               (on or about)
    1           10/23/2013     Wire transfer of $50,000.00 from T.K.C. to defendant ANDREWS'
                               Jackson Living Trust checking account number xxOl 10.

All in violation of 15 U.S.C. §§ 78j(b), 78ff, and 17 C.F.R. § 240.lOb-5.

                                            Count2
                                        18 u.s.c. § 1341
                                         (Mail Fraud)

         12.    The allegations set forth above and all counts set forth in this Information are

incorporated herein by reference and realleged as though fully set forth herein.

         13.    On or about the dates enumerated in each count below, in the Central Division of

the District of Utah, and elsewhere,

                               THOMAS EDWARD ANDREWS,

defendant herein, for the purpose of executing and in furtherance of the scheme and artifice to

defraud more particularly described in the above paragraphs, and for obtaining money and

property of investor victims by means of false and fraudulent pretenses, representations, and



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promises, and omissions of material facts and attempting to do so, did knowingly deposit and

caused to be sent and delivered by the United States Postal Service and any private or

commercial interstate carrier, forged, fabricated, and fraudulent account statements that

contained false or inflated cash balances, and did cause such statements to be sent and delivered

according to the directions thereon, and did aid and abet, counsel, command, induce, procure and

cause the following mailings:

                 Date
  Count                         Mailing Description               Courier         Recipient/Victim
             (On or About)
     2       08/25/2015       Statement of Jackson          United States        F.A.H.
                              Trust Account                 Postal Service
                              #xxxxxx9339

All in violation of 18 U.S.C. § 1341.

                          NOTICE OF INTENT TO SEEK FORFEITURE

         Pursuant to 18 U.S.C. § 981(a)(l)(C) and 28 U.S.C. § 2461(c), upon conviction of any

offense in violation of 15 U.S.C. §§ 78j(b), 78ff, and 17 C.F.R. § 240.lOb-5 or 18 U.S.C. § 1341,

as set forth in this Information, the defendant shall forfeit to the United States of America all

property, real or personal, that constitutes or is derived from proceeds traceable to the scheme to

defraud.

         The property to be forfeited includes, but is not limited to, the following:

         •   MONEY JUDGMENT in the approximate amount of $5,500,000.00, representing the
             value of the proceeds obtained by the defendant in connection with the above-
             referenced offenses.

                                        SUBSTITUTE ASSETS

         If any of the above-described forfeitable property, as a result of any act or omission of the


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defendant,

               ( 1) cannot be located upon the exercise of due diligence;

               (2) has been transferred or sold to, or deposited with, a third person;

               (3) has been placed beyond the jurisdiction of the court;

               (4) has been substantially diminished in value; or

               (5) has been commingled with other property which cannot be divided without

difficulty; it is the intent of the United States, pursuant to 28 U.S.C. § 2461(c) and 21 U.S.C. §

853(p), to seek forfeiture of any other property of said defendant up to the value of the above-

forfeitable property.


       Dated this 10th day of May 2016.

                                              JOHN W. HUBER
                                              United States Attorney



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                                           ~COB J. STRAIN
                                              A =United States Attorney




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